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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK




IN RE CHINA MEDIAEXPRESS HOLDINGS,
INC. SHAREHOLDER LITIGATION                            Civil Action No. 11-cv-0804 (VM)
This Document Relates to:                              CLASS ACTION
ALL ACTIONS
                                                       ECF Case
                                                       Electronically Filed




                             INTERIM REPORT OF RECEIVER


       Karl Barth, as Court-appointed Receiver (“Receiver”), submits this report of receivership

activities through May 31, 2016. As described in more detail below, the receivership currently

has net assets of $3,299,790, consisting entirely of a cash balance in the receivership trust

account resulting from the settlement of legal claims brought against certain of CCME’s former

insurers. The Receiver continues to pursue legal claims against additional third parties that he

hopes will increase the value of the receivership over the coming months.

A.     Settlements With Certain of CCME’s Former Insurers
       The Receiver is actively pursuing claims against certain of CCME’s former insurers that

sold the Company director and officer insurance coverage, but which have asserted various

coverage defenses and denied coverage for these policies. CCME purchased a total of $20

million of insurance in three layers of coverage: 1) a $5 million primary layer of coverage

jointly underwritten by Torus Executive Risks, Ltd. and Starr Underwriting Agents, Ltd.; 2) a $5

million secondary “excess” layer underwritten by AIG Insurance Hong Kong Limited; and 3) a

$10 million additional excess layer of coverage jointly underwritten by China Pacific Insurance

Co., (H.K.) Ltd. and China Ping An Insurance (Hong Kong) Co. Ltd.



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           The Receiver filed litigation against each of these carriers, and has obtained settlements

to date totaling $3.3 million from the joint underwriters of the $5 million primary layer of

coverage. These settlements were previously approved by the Court on October 30, 2015 (Starr

Underwriting Agents, Ltd./ Lloyd’s Syndicate 1919 CVS)1 and December 16, 2015 (Torus

Executive Risks, Ltd.).2

B.         Current Receivership Net Asset Balance
           The receivership currently has net assets of $3,299,790, which are held in a trust account

at Union Bank, N.A in the name of China MediaExpress Holdings, Inc. and under the control of

the Receiver. This balance consists of the above-referenced $3.3 million in settlements obtained

from CCME’s prior insurers, less only $210 in bank changes ($200 in monthly service charges,

and one $10 fee related to wiring the settlement funds from counsel’s trust account). The

receivership has paid no other expenses.

C.         Accrued Payables From the Receivership
           The Receiver will not seek any fee from the receivership for his service as Receiver or his

role in obtaining these settlements, but will soon request the payment of attorneys’ fees to his

counsel that represented the receivership and were instrumental in obtaining the $3.3 million in

settlements, and who continue to represent the receivership in its claims against CCME’s other

insurers.

D.         Continuing Efforts of the Receiver
           The Receiver’s litigation in this Court also asserted claims against the underwriters of

both excess layers of coverage, but the claims against these remaining insurers were stayed in

favor of an arbitration clause requiring that the dispute be brought before an arbitration tribunal


     1
         Docket No. 272.
     2
         Docket No. 284.



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in Hong Kong. The Receiver and his counsel are preparing to pursue the claims against these

remaining insurers in arbitration in Hong Kong.

       The Receiver is actively investigating the possibility of employing certain investigative

and legal strategies regarding potential assets in the People’s Republic of China, but will seek

Court approval before pursuing any such strategies.

       The Receiver is also investigating potential legal claims against another third party, and

will report back to the Court on this potential claim in the very near future.

DATED: May 31, 2016

                                              HAGENS BERMAN SOBOL SHAPIRO LLP


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                                 CERTIFICATE OF SERVICE
       I hereby certify that I am the ECF User whose ID and password are being used to

electronically file the foregoing with the Clerk of the Court using the CM/ECF system on May
31, 2016, which will send notification of such filing to the e-mail addresses registered, as

denoted on the attached Electronic Mail Notice List, and I hereby certify that I have mailed the

foregoing document or paper via the United States Postal Service to the non-CM/ECF

participants indicated on the attached Manual Notice List.

                                                                /s/ Karl P. Barth
                                                               KARL P. BARTH




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Mailing Information for a Case 1:11-cv-00804-VM-GWG McIntire v. China Media
Express Holdings, Inc.
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